                   Case 23-11161-JKS           Doc 389       Filed 11/07/23        Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    PRIME CORE TECHNOLOGIES INC., et                       Case No. 23-11161 (JKS)
    al.,1
                                                           Jointly Administered
                                  Debtors.


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

             Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the

admission pro hac vice of Sharon I. Dwoskin, Esquire, of Brown Rudnick LLP, to represent the

Official Committee of Unsecured Creditors in this case.



Dated: November 7, 2023                              WOMBLE BOND DICKINSON (US) LLP

                                                     /s/ Donald J. Detweiler
                                                     Donald J. Detweiler (DE Bar No. 3087)
                                                     Elazar A. Kosman (DE Bar No. 7077)
                                                     1313 North Market Street, Suite 1200
                                                     Wilmington, Delaware 19801
                                                     Telephone: (302) 252-4320
                                                     Facsimile: (302) 252-4330
                                                     Email: don.detweiler@wbd-us.com
                                                     Email: elazar.kosman@wbd-us.com

                                                     Counsel to the Official Committee of Unsecured
                                                     Creditors




1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime
Digital LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
              Case 23-11161-JKS          Doc 389     Filed 11/07/23     Page 2 of 2




          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the States of Massachusetts
and New York, and submit to the disciplinary jurisdiction of this Court for any alleged misconduct
which occurs in the preparation or course of this action. I also certify that I am generally familiar
with this Court’s Local Rules and with the Standing Order for District Court Fund revised 8/31/16.
I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for the District
Court.



Dated: November 7, 2023                       /s/ Sharon I. Dwoskin
                                              BROWN RUDNICK LLP
                                              Sharon I. Dwoskin
                                              One Financial Center
                                              Boston, Massachusetts 02111
                                              Telephone: (617) 856-8200
                                              Facsimile: (617) 856-8201
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                                ORDER GRANTING MOTION

       IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
